Case 2:18-cv-01445-JWH-JPR Document 126 Filed 11/05/20 Page 1 of 1 Page ID #:6070



    1
    2
    3
                                                               JS-6
    4
    5
    6
    7
    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10
   11   DAVID NEWMAN,                            Case No. 2:18-cv-02348 JWH (MAA)
   12                       Petitioner,
               v.                                JUDGMENT
   13
   14   FELICIA PONCE, Warden,
   15                       Respondent.
   16
   17         Pursuant to the Order Accepting Report and Recommendation of the United
   18   States Magistrate Judge,
   19         IT IS ORDERED AND ADJUDGED that the Second Amended Petition is
   20   denied and the action is dismissed with prejudice.
   21
   22   DATED: November 5, 2020
   23
   24                                     ____________________________________
                                          ____
                                             _______________
                                                         _ ______
                                                                ________
                                          JOHN
                                            HN W. HOLCOMB
                                          JOH
   25                                                              JUDGE
                                          UNITED STATES DISTRICT JUDG
   26
   27
   28
